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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 0:14-CV-61755-WJZ

      RICHARD A. FIORA,

                      Plaintiff,
      vs.

      GREEN TREE SERVICING, LLC,

               Defendant.
  _________________________________/

      RESPONSE TO DEFENDANT’S MOTION TO STRIKE PLAINTIFF’S JURY TRIAL
            DEMAND AND INCORPORATED MEMOMORANDUM OF LAW

             Seeking to revive the dead, Green Tree1 defies the most basics tenets of contract law and

  now attempts to enforce a mortgage that is no longer in existence and that was paid in full by Mr.

  Fiora before the alleged violations even occurred. Simply stated, at the time Mr. Fiora’s cause of

  action accrued, he had fully paid off his mortgage note and Green Tree had already recorded a

  satisfaction of mortgage. Thus, there plainly is no jury waiver to enforce.

             Plaintiff, RICHARD A. FIORA, hereby responds to Green Tree’s Motion to Strike

  Plaintiff’s Jury Trial Demand [ECF No. 45] and respectfully requests this Honorable Court enter

  an Order denying the relief sought by Defendant. In support of his Motion, Plaintiff submits the

  incorporated memorandum of law.

                     I. INTRODUCTION AND BACKGROUND

             The action before this Court arose from Green Tree’s failure to comply with the Real Estate

  Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. (“RESPA”). Specifically, Plaintiff seeks

  the remedies as provided in RESPA for Green Tree’s failure to timely acknowledge receipt and



  1
      “Green Tree” means Defendant, Green Tree Servicing, LLC.
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  respond to a notice of error under 12 C.F.R. § 1024.35 and a request for information under 12

  C.F.R. § 1024.36.2

             “On or about November 22, 2013, Mr. Fiora paid off the entire remaining balance of the

  Loan by wire transfer to GREEN TREE in the amount of $109,742.68.” [ECF. No. 21, ¶ 26]. Green

  Tree admits that it “received sums sufficient to satisfy Plaintiff’s outstanding loan balance”. [ECF

  No. 41, ¶ 26]. Notwithstanding, “on or about January 29, 2014, Mr. Fiora was served with

  foreclosure papers filed by GREEN TREE on December 5, 2013.” [ECF No. 21, ¶ 40]. Then on

  “February 14, 2014, GREEN TREE recorded a Satisfaction of Mortgage with regards to Mr.

  Fiora’s mortgage.” [Id. at ¶ 57]; See [ECF No. 21-4].

             In his Amended Complaint, Plaintiff alleges that Green Tree was the servicer of the subject

  loan, and that “on or about January 16, 2014, Plaintiff mailed to GREEN TREE a written notice

  of error and request for information pursuant to TILA, Regulation X, and Regulation Z (“Plaintiff's

  RFI”).” [ECF No. 21, ¶ 44](hereinafter “Am. Comp.”). Although obligated to do so in accordance

  with Federal statutes, Plaintiff alleges that “GREEN TREE has failed to comply and 12 C.F.R.

  Part 1024.35(d) and 12 C.F.R. Part 1024.35(e) in that GREEN TREE did not provide a written

  acknowledgment or response to a notice of error asserted under 12 C.F.R. 1024.35(b) within the

  required timeframe” and “GREEN TREE has failed to or refused to comply with 12 C.F.R. Part

  1024.36(c) and 12 C.F.R. Part 1024.36(d)(2)(i)(B) in that GREEN TREE did not provide a written

  acknowledgement or response to a request for information within the required timeframe.” [Id. at

  ¶¶ 64, 66].

             Defendant moves to strike the jury trial demand on the grounds that Plaintiff “expressly

  agreed to waive his right to a jury trial when he entered into the Mortgage.” [ECF No. 45 at 2].



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      The Court dismissed all three state law claims for lack of supplemental jurisdiction. See [ECF No. 38].


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  For the purposes of this motion only, Plaintiff concedes that he waived his right to a jury trial in

  the subject mortgage. However, all of Plaintiff’s claims arose after the loan was paid off, meaning

  the contract was fully performed. Once the Satisfaction of Mortgage was recorded on February 14,

  2014, the mortgage had extinguished. See Biggs v. Smith, 134 Fla. 569, 573, 184 So. 106, 107

  (1938)(“[T]he cancellation of a mortgage and a discharge of record, unless effected through fraud,

  accident or mistake, is usually considered to be an absolute bar and extinguishment of the

  mortgage.”) Thus, Green Tree, the very entity which filed the Satisfaction of Mortgage, should be

  barred from reviving the Mortgage to enforce the jury trial waiver contained therein.

         II. MEMORANDUM OF LAW

         The right to a jury trial has been recognized as “a basic and fundamental feature of our

  system of federal jurisprudence which is protected by the Seventh Amendment.” Jacob v. City of

  New York, 315 U.S. 752, 752, (1942). “A right so fundamental and sacred to the citizen, whether

  guaranteed by the Constitution or provided by statute, should be jealously guarded by the courts.”

  Id. Moreover, “[t]he trial by jury is justly dear to the American people. It has always been an object

  of deep interest and solicitude, and every encroachment upon it has been watched with great

  jealousy.” Chauffeurs, Teamsters and Helpers, Local, No. 391 v. Terry, 494 U.S. 558, 581, 110

  (1990) (quoting Parsons v. Bedford, Breedlove and Robeson, 28 U.S. (3 Pet.) 433, 7 L.Ed. 732

  (1830)).

         The Eleventh Circuit has instructed that waivers of valid jury demands are not to be lightly

  inferred and should be scrutinized with utmost care. Haynes v. W.C. Caye & Co., Inc., 52 F.3d

  928, 930 (11th Cir. 1995). There is a strong preference within the federal courts for permitting jury

  trials. Denial of a jury trial is subject to the “most exacting scrutiny.” Morgantown, W.VA. v.

  Royal Ins. Co., 337 U.S. 254, 258, (1949); Fed. R. Civ. P. 38. A party may waive its right to a jury

  trial as long as the waiver is knowing and voluntary. Bakrac, Inc. v. Villager Franchise Systems,

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  Inc., 164 Fed. Appx. 820, 823 (11th Cir. 2006). A contract cannot waive the constitutional right to

  a trial by jury unless the parties knowingly, voluntarily, and intelligently waive their rights. Allyn,

  347 F. Supp. 2d at 1252.

         A. The Satisfaction of Mortgage extinguishes the Mortgage.

         The Satisfaction of Mortgage was executed on February 12, 2014 and recorded on February

  14, 2014. [ECF No. 21-4]. The fact of the matter is that the loan had been paid in full in November

  2013 and thus, Mr. Fiora had fulfilled his side of the contract. The Parties have already stipulated

  in their Pretrial Stipulation that it is uncontested that Green Tree received Plaintiff’s RFI in January

  20, 2015. [ECF No. 44 at §5(f)]. Pursuant to 12 C.F.R. 1024.35(e)(3)(i)(C) and 12 C.F.R.

  1024.36(d)(2)(i)(B), Green Tree was required to respond within 30 business days or no later than

  March 4, 2015. In other words, Mr. Fiora’s cause of action under RESPA did not arise until March

  4, 2015 at the earliest, 3 weeks after Green Tree has executed a satisfaction of Mr. Fiora’s

  mortgage. There simply is no jury waiver to enforce after February 14, 2014 at the latest.

         This Court should not enforce the waiver in this case in favor of Green Tree because the

  contract was fully performed upon the payoff of the loan and because on February 14, 2014, Green

  Tree “recorded a Satisfaction of Mortgage with regards to Mr. Fiora’s mortgage.” [Am. Comp., ¶

  59]; [See ECF No. 21-4]. The Satisfaction of Mortgage specifically states that Green Tree “Hereby

  acknowledges full payment and satisfaction of said note and Mortgage Deed, and surrenders the

  same as canceled, and hereby directs the Clerk of the said Circuit Court to cancel the same of

  record.” [ECF No. 21-4]. Now faced with litigation, Green Tree is attempting to “revive” a

  provision of a fully performed contract which it has already publicly deemed “surrendered” and

  “canceled”. This is impermissible.

         Green Tree cites to various cases outside the Southern District of Florida in an attempt to

  support its position that the jury trial waiver survives the satisfaction of the Loan. However, none

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  of the cases stand for that proposition. The principal case Green Tree uses, In re Phillips Grp., Inc.,

  dealt with the preservation of a mortgage term post-judgment – not post-satisfaction of mortgage

  and it was not a jury trial waiver, but rather, a “release” of “any errors or defects in proceedings to

  enforce this Security Instrument”. In re Phillips Grp., Inc., 382 B.R. 876, 881 (W.D. Penn. 2008).

  This is completely inapposite to the present matter. First, in In re Phillips Grp, Inc. there had not

  been a recording of a Satisfaction of Mortgage at the time the action was brought. Thus, the

  mortgage had not been canceled per the public records. Second, the term being enforced in In re

  Phillips Grp., Inc., as mentioned, was not a jury trial waiver. The court in that case determined that

  the parties intended for the “release” provision to survive post-judgment, not post satisfaction of

  mortgage. There is no indication with respect to the present matter that the parties intended for the

  jury trial waiver to survive a cancellation of the mortgage and full performance of the contract. In

  re Phillips Grp., Inc. has absolutely no relation to the present matter. In fact, none of the cases

  Green Tree cites, supports that proposition that a jury trial waiver clause survives a cancelation of

  the mortgage. At best, the cases support the proposition that certain mortgage terms can survive

  post-judgment, but before the mortgage is canceled. This distinction is crucial because until the

  Satisfaction of Mortgage is recorded, the mortgage merges into the final judgment but for any

  provisions the parties intended to survive the final judgment. See In re Phillips Grp., Inc. 382 B.R.

  at 881. A final judgment is not the last straw in a foreclosure proceeding because the mortgagor

  retains a right of redemption period up until the “filing of a certificate of sale by the clerk of the

  court or the time specified in the judgment, order, or decree of foreclosure…” Fla. Stat. § 45.0315.

  Contrary, full performance of the mortgage loan, i.e. full payment, followed by the Satisfaction of

  Mortgage, terminates the contract and the lien on the collateral. Green Tree is comparing apples

  to oranges in an attempt to convince this Court, through irrelevant case law, that survival of a

  mortgage term post-judgment (and not even a jury trial waiver) is similar to survival post

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  satisfaction of a mortgage.

          To allow a party to fully performed contract to unilaterally revive same, would be against

  the fundamental principles of equity and Florida common law. In fact, paragraph 23 of the

  mortgage titled “Release” states: “Upon payment of all sums secured by the Security Instrument,

  Lender shall release this Security Instrument.” [ECF No. 45-1]. Plaintiff paid all sums secured by

  the mortgage and Green Tree subsequently released the mortgage through the Satisfaction of

  Mortgage. At the time the mortgage debt was satisfied, the mortgage had extinguished. See Lisbon

  Holding & Inv. Co. v. Vill. Apartments, Inc., 237 So. 2d 197, 198 (Fla. 3d DCA 1970)(“It is

  uniformly held that a mortgage lien is not extinguished until the mortgage debt is actually

  satisfied”).

          Nothing contained in the Mortgage suggests that any provisions contained therein may

  survive after the contract is satisfied. Such a peculiar provision would surely frustrate the meaning

  of the rudimentary term “satisfaction” and be at odds with Fla Stat. § 701.04(2), which states in

  part:

          Whenever the amount of money due on any mortgage, lien, or judgment has been fully
          paid to the person or party entitled to the payment thereof, the mortgagee, creditor, or
          assignee, or the attorney of record in the case of a judgment, to whom the payment was
          made, shall execute in writing an instrument acknowledging satisfaction of the mortgage,
          lien, or judgment and have the instrument acknowledged, or proven, and duly entered in
          the official records of the proper county.

  The effect of a Satisfaction of Mortgage would be utterly meaningless if the party who accepts full

  performance of the loan and who subsequently records a satisfaction of mortgage acknowledging

  same may unilaterally enforce a provision of the “canceled” mortgage. What makes the jury trial

  waiver provision any different than any other provision? Who is to say that Green Tree will not

  again demand full payment of the loan despite already acknowledging it has been paid off?

          In order for Green Tree to enforce the jury waiver provision of the canceled mortgage,



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  Green Tree would have to “cancel” the satisfaction. In Florida, this burden is quite high. “This

  Court has long since recognized that a satisfaction of a mortgage procured by fraud or made

  through mistake may be cancelled…” United Serv. Corp. v. Vi-An Const. Corp., 77 So. 2d 800,

  803 (Fla. 1955). Here, there was no fraud or mistake. Green Tree filed the Satisfaction of

  Mortgage, albeit untimely, after receiving full payment of the loan. Based on the plain meaning of

  the Satisfaction of Mortgage, Green Tree voluntarily “acknowledge[d] full payment and

  satisfaction of said note and Mortgage Deed.” [ECF No. 21-4]. It would be inequitable to allow

  Green Tree to apply the jury trial waiver provision of a contract that no longer exists.

         B. Plaintiff’s claims arose after the loan was paid off.

         If the Court is not persuaded that Green Tree cannot enforce the jury trial waiver of a

  canceled mortgage, it still must be determined whether Plaintiff’s claims arise out of or related to

  the Mortgage or the Note, as indicated in the jury trial waiver. For the following reasons, Plaintiff

  respectfully asks this Court to determine that Plaintiff’s claims have no relation to the Mortgage

  or Note because they arose after Plaintiff paid off the loan in full. In fact, Green Tree’s substantive

  defense in this matter is that it was not required to respond to Plaintiff’s RFI because the loan was

  already paid off. [ECF No. 45, §8(Defendant)(a)]. Moreover, Green Tree’s motion to dismiss was

  premised on this very point. [ECF No. 25 at 13].

         Green Tree argues that Plaintiff’s “demands” in the request for information and notice of

  error relate to the enforcement of the mortgage and payment under the note. See [ECF No. 45 at

  6]. But, those “demands” are not must what relate to the mortgage or note, it is the “action,

  proceeding, claim, or counterclaim” which must arise out of or relate to the mortgage or note. The

  action is predicated on Green Tree’s failure to comply with RESPA and is not based on the

  mortgage or note itself. Additionally, Plaintiff claim arose after the loan was already paid off and

  thus has no relation to the mortgage or note itself. There was no conflict regarding the mortgage

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  or note as Green Tree conceded that Plaintiff paid off the loan. See [ECF No. 41, ¶ 26]. The lawsuit

  arose after Green Tree failed to comply with its statutory duties under 12 C.F.R. § 1024.35 and §

  1024.36. There is no dispute regarding the mortgage or the loan. The dispute is over RESPA and

  whether Green Tree complied with same. For these reasons, Plaintiff respectfully asks this Court

  to reject Green Tree’s argument that Plaintiff’s claims related to the mortgage.

                                           CONCLUSION

         For the reasons discussed above, Plaintiff, RICHARD A. FIORA, respectfully requests this

  Honorable Court deny Defendant’s Motion to Strike Jury Demand, or in the alternative, try this

  case with an advisory jury, and grant such other relief as is just and proper.



                                                Respectfully submitted,
                                                LOAN LAWYERS, LLC
                                                Attorneys for Plaintiff

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                                                Florida Bar Number: 91210




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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on October 20, 2015 with the Clerk of Court using CM/ECF along with having served all counsel
  of record or pro se parties identified on the service list incorporated herein in the manner specified,
  either via transmission of Electronic filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties not authorized to receive electronically Notice of Electronic
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